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To Whom It May Concern:

My name is Paula Thompson, I am Mark Holdren’s aunt. I would just like to say that my time with Mark
over the past 40 years has been such a wonderful time in my life. As a child he was a loving and caring
person. Mark was always helpful and kind and loved everyone he met. He was very outgoing, he loved
life and I had the privilege of watching him grow into a man and a father. He taught his children what was
right and wrong and both Haley and Konnor have turned out to be wonderful people. I know that Mark
made huge mistakes that were followed by bad decisions. He is doing everything he can to be a better
person than he was when those mistakes took place. Mark has talked about being able to one day tell
others about the mistake that he made, where he ended up because of it, and how he will help others
make better decisions than he made. He has told me “Aunt Paula, always stop and think before you do
something that you can't take back.” All he does is worry about me and his family, he stays concerned
about the health of his mother and I. Many of us are getting older now and he is fearful of never seeing
us again. He tells me to be safe and careful all the time so that I will be here to continue to help lead his
children in a positive way. Mark knows that he is going to miss out on so many milestones over the years
that he is incarcerated, but even from jail, he tries to give us advice so that we never find ourselves in a
situation similar to this one. A situation that we know we will never be able to change or take back. I
have told both my nieces and nephews, you will make decisions in your life, good or bad, once you act
on it the consequences will be inevitable. Mark has told me many times that he knows he made the
wrong decisions, but all I can ask is that when you decide his sentencing, that you do it with his future as
a better man, his family, and his children in mind. Please show him mercy on him so that he can create a
better future for himself and those around him.

Thank you,
Paula Thompson
